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From:               Kira Kelley
To:                 Enslin, Sharda
Cc:                 Karmen McQuitty; Robertson, Heather (she/her/hers); Sarff, Kristin; Claire Glenn
Subject:            Re: [EXTERNAL] Re: Settlement Proposal
Date:               Friday, November 29, 2024 8:54:30 AM


Hi Sharda,

Given that we're still waiting on a response from you regarding the settlement offer
set in September and had intended to give you all a good faith chance to settle before
serving interrogatories, RFAs, and other depo notices, and that this deposition has
taken more than two months to schedule, a one-month stipulated extension (to Jan
15) seems appropriate and would give us some buffer in case the City representative
has a conflict that comes up. If the judge doesn't approve our stipulation, we can
always make adjustments from there.

Best,

Kira


____________________
Kira Kelley (they/she)
Staff Attorney  
Climate Defense Project
climatedefenseproject.org




On Wed, Nov 27, 2024 at 1:49 PM Enslin, Sharda <sharda.enslin@minneapolismn.gov>
wrote:

  Why don’t we stipulate to extending the discovery completion period to Dec. 22? That gives
  us an additional week from the current deadline and should be plenty of time if we can
  schedule the depo for the 17th or 18th. Leung won’t be inclined to extend the discovery
  period without good cause, so I can write up a joint stip with an explanation that the need for
  the extension is based on the deponent’s limited availability. Let me know if that works.
  Thanks!




  From: Kira Kelley <kira@climatedefenseproject.org>
  Sent: Wednesday, November 27, 2024 11:09 AM
  To: Enslin, Sharda <sharda.enslin@minneapolismn.gov>
  Cc: Karmen McQuitty <karmen@peopleslawmn.com>; Robertson, Heather (she/her/hers)
  <Heather.Robertson@minneapolismn.gov>; Sarff, Kristin
  <Kristin.Sarff@minneapolismn.gov>; Claire Glenn <claire@climatedefenseproject.org>
  Subject: Re: [EXTERNAL] Re: Settlement Proposal


                                                                                                            Exhibit L
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Hi Sharda,



Would you be willing to stipulate to an extension of the December 15th fact deadline by a
few weeks just to give us all a buffer? We could schedule the evidentiary depo on the 17th
or 18th if so.



Best,



Kira



On Wed, Nov 27, 2024, 6:33 AM Enslin, Sharda <sharda.enslin@minneapolismn.gov>
wrote:

  Hi Kira – turns out that while I’m available the week of Dec. 9, our deponent is not.
  However, both he and I are available on Dec. 17th or 18th. Would either of those dates
  work for you? Technically this falls a couple days outside of our discovery period, but
  given that the parties have been planning on conducting this deposition for a while now,
   if we’re both in agreement and it’s the only date that works for the witness, I think it’s
  fine.




  From: Kira Kelley <kira@climatedefenseproject.org>
  Sent: Tuesday, November 26, 2024 10:21 AM
  To: Enslin, Sharda <sharda.enslin@minneapolismn.gov>
  Cc: Karmen McQuitty <karmen@peopleslawmn.com>; Robertson, Heather (she/her/hers)
  <Heather.Robertson@minneapolismn.gov>; Sarff, Kristin
  <Kristin.Sarff@minneapolismn.gov>; Claire Glenn <claire@climatedefenseproject.org>
  Subject: Re: [EXTERNAL] Re: Settlement Proposal



  Hi Sharda,



  I sent it to you on September 13, with the changes we'd discussed in our phone
  call. Let me know if you can't find that thread and I will bump it in your inbox!
  I'll re-attach the updated list here as well for your convenience.



                                                                                       Exhibit L
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The week of Dec 9th is pretty open for me, I'll confer with my cocounsel. Did
you have any specific days/times in mind?



Best,



Kira



____________________
Kira Kelley (they/she)
Staff Attorney  
Climate Defense Project
climatedefenseproject.org




On Mon, Nov 25, 2024 at 7:18 AM Enslin, Sharda <sharda.enslin@minneapolismn.gov>
wrote:

   Hi Kira, did you ever send me an updated list of topics? What is your availability the
   week of December 9th?




   From: Kira Kelley <kira@climatedefenseproject.org>
   Sent: Thursday, November 21, 2024 5:18 PM
   To: Enslin, Sharda <sharda.enslin@minneapolismn.gov>; Karmen McQuitty
   <karmen@peopleslawmn.com>; Robertson, Heather (she/her/hers)
   <Heather.Robertson@minneapolismn.gov>; Sarff, Kristin
   <Kristin.Sarff@minneapolismn.gov>; Claire Glenn
   <claire@climatedefenseproject.org>
   Subject: [EXTERNAL] Re: Settlement Proposal



   Hi Sharda,



   Just wanted to follow up on this, and to check in on when the City would be
   available for a deposition.


                                                                                   Exhibit L
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  Hope you are well!



  Kira



  ____________________
  Kira Kelley (they/she)
  Staff Attorney
  Climate Defense Project
  climatedefenseproject.org




                                                                  Exhibit L
